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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

D'Aaron Williams
                               Plaintiff,
v.                                                    Case No.: 1:18−cv−00028
                                                      Honorable John Z. Lee
Sgt Gotay, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 17, 2018:


        MINUTE entry before the Honorable John Z. Lee:The status hearing set for
12/18/18 is reset to 2/22/19 at 9:30 a.m. Defense counsel should arrange for plaintiff's
participation by telephone and contact the courtroom deputy the day before with a call−in
number.Mailed notice(ca, )




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